    19-23013-rdd         Doc 9-1        Filed 06/03/19 Entered 06/03/19 20:00:00                       Corporate
                                            Resolution Pg 1 of 2


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                                    Chapter 11

         53 Stanhope LLC, et al,1                                        Case no. 19-23013 (RDD)
                                                                         Jointly Administered
                                    Debtor.
----------------------------------------------------------x

       STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

                I, David Goldwasser, Authorized signatory of GC Realty Advisors, declare under
penalty of perjury that GC Realty Advisors is the Vice President of 53 Stanhope LLC (4645); 55
Stanhope LLC; 119 Rogers LLC ; 127 Rogers LLC ; 325 Franklin LLC; 618 Lafayette LLC; C &
YSW, LLC; Natzliach LLC; 92 South 4th St LLC; 834 Metropolitan Avenue LLC; 1125-1133
Greene Ave LLC; APC Holding 1 LLC; D&W Real Estate Spring LLC; Meserole and Lorimer
LLC; 106 Kingston LLC; Eighteen Homes LLC; 1213 Jefferson LLC; 167 Hart LLC
(collectively, the "Debtors"), and that the following is a true and correct copy of the resolutions
adopted a special meeting duly called and held on the 20 day of May, 2019 for each of the
Debtors.
               "Whereas, it is in the best interest of this LLC to file a voluntary petition in the
United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;
               Be It Therefore Resolved, that David Goldwasser, Authorized signatory of GC
Realty Advisors, Vice President, is authorized and directed to execute and deliver all documents
necessary to perfect the filing of a chapter 11 voluntary bankruptcy; and
               Be It Further Resolved, that David Goldwasser, Authorized signatory of GC Realty
Advisors is authorized and directed to appear in all bankruptcy proceedings, and to otherwise do
and perform all acts and deeds and to execute and deliver all necessary documents in connection
with such bankruptcy case, and
               Be It Further Resolved, that David Goldwasser, Authorized signatory of GC Realty
Advisors, is authorized and directed to employ the law firm of Backenroth Frankel & Krinsky,
LLP in such bankruptcy case."


Date     May 20, 2019                     /s/ David Goldwasser, Authorized signatory of GC Realty Advisors




1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor's taxpayer identification number are as
follows: 53 Stanhope LLC (4645); 55 Stanhope LLC (4070); 119 Rogers LLC (1877); 127 Rogers LLC (3901); 325
Franklin LLC (5913); 618 Lafayette LLC (5851); C & YSW, LLC (2474); Natzliach LLC (8821); 92 South 4th St
LLC (2570); 834 Metropolitan Avenue LLC (7514); 1125-1133 Greene Ave LLC (0095); APC Holding 1 LLC
(0290); D&W Real Estate Spring LLC (4591); Meserole and Lorimer LLC (8197); 106 Kingston LLC (2673);
Eighteen Homes LLC (8947); 1213 Jefferson LLC (4704); 167 Hart LLC (1155).
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                                      Resolution Pg 2 of 2


                                           RESOLUTION

               Whereas, it is in the best interest of this LLC to file a voluntary petition in the the
United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;
               Be It Therefore Resolved, that David Goldwasser, Authorized signatory of GC
Realty Advisors, as Vice President is authorized and directed to execute and deliver all documents
necessary to perfect the filing of a chapter 11 voluntary bankruptcy; and
               Be It Further Resolved, that David Goldwasser, Authorized signatory of GC Realty
Advisors, is authorized and directed to appear in all bankruptcy proceedings on, and to otherwise
do and perform all acts and deeds and to execute and deliver all necessary documents with such
bankruptcy case, and
               Be It Further Resolved, that David Goldwasser, Authorized signatory of GC Realty
Advisors, is authorized and directed to employ the law firm of Backenroth Frankel & Krinsky,
LLP in such bankruptcy case.
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